           Case 2:13-cr-00267-TLN Document 92 Filed 04/18/16 Page 1 of 3


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8                       IN THE UNITED STATES DISTRICT COURT

9                    FOR THE EASTERN DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA,             ) 2:13-CR-00267-GEB
                                           )
12             Plaintiff,                  ) ORDER CONTINUING COMMITMENT OF
                                           ) THE DEFENDANT TO THE CUSTODY OF
13        v.                               ) THE ATTORNEY GENERAL FOR
                                           ) FURTHER EVALUATION RELATED TO
14   FERLANDO CARTER,                      ) COMPETENCY
                                           )
15             Defendant.                  )
                                           )
16                                         )
                                           )
17

18                                        ORDER

19       This matter is before the Court on the defendant’s Motion to

20   Reconsider Order Granting Extension for Competency Evaluation (Doc.

21   86) and for consideration of the April 14, 2016 Forensic Evaluation

22   completed by Dr. Tracy O’Connor Pennuto.       The parties appeared before

23   the Court regarding this matter on April 15, 2016.

24       On November 5, 2015, the defendant was admitted to the Mental

25   Health Unit of FMC-Butner for a competency evaluation.          In the April

26   14, 2016 Evaluation, Dr. Pennuto requested additional time to

27   continue the evaluation and treatment of the defendant.          Dr. Pennuto

28   stated that she believed that “Mr. Carter is exaggerating his

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            Case 2:13-cr-00267-TLN Document 92 Filed 04/18/16 Page 2 of 3


1    limitations and attempting to present as more impaired than he

2    actually is.”   Dr. Pennuto opined that “further time is required in

3    order to encourage [the defendant’s] participation in the evaluation

4    process and complete further psychological testing.”          Dr. Pennuto

5    stated that she believed that “there is a substantial probability

6    that Mr. Carter’s competency will be restored in the foreseeable

7    future with continued restoration efforts.”

8          Upon consideration of the April 14, 2016 Forensic Evaluation

9    prepared by Dr. Pennuto and the hearing held on April 15, 2016, and

10   pursuant to 18 U.S.C. § 4241(d)(2)(A), the Court finds there is a

11   substantial probability that an extension of the defendant’s

12   commitment to the custody of the Attorney General will allow the

13   defendant to attain the capacity to permit the proceedings in this

14   matter to go forward.     Accordingly, the Court hereby ORDERS that:

15         (1)   the defendant shall continue to be committed to the custody

16               of the Attorney General for treatment in a suitable

17               facility for 90 days from the date of this order to

18               determine whether the defendant will attain the capacity to

19               permit the proceedings to go forward;

20         (2)   the defendant shall be released from the treatment facility

21               on July 14, 2016, or such earlier date if the treating

22               facility completes the evaluation before July 14, 2016;

23         (3)   upon release from the treating facility, the defendant will

24               continue to be subject to the terms and conditions of his

25               pretrial supervision;

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              Case 2:13-cr-00267-TLN Document 92 Filed 04/18/16 Page 3 of 3


1        (4)     the defendant shall report to the pretrial services office

2                in the Eastern District of California by July 20, 2016, or

3                within seven calendar days of his release from the treating

4                facility, whichever date occurs earlier;

5        (5)     upon completion of the evaluation of the defendant, the

6                director of such facility shall submit a report regarding

7                the defendant’s competency to counsel and the Court by

8                August 1, 2016;

9        (6)     time is excluded from April 14, 2016, through August 19,

10               2016, pursuant 18 U.S.C. § 3161(h)(1)(A) (Local Code A) and

11               18 U.S.C. § 3161(h)(4) (Local Code N); and

12       (7)     the defendant is ordered to appear for a status hearing on

13               August 19, 2016, at 9:00 a.m. before the Honorable Garland

14               E. Burrell, Jr. in Courtroom #10.

15   IT IS SO ORDERED.

16   Dated:    April 18, 2016

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